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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
VALENCIA MASHON GILFORD                       )       CASE: A18-51296-JRS
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                             2.

      The plan as proposed will extend to sixty one (61) months, which exceeds the sixty
(60) months allowed by 11 U.S.C. Section 1322(d).

                                             3.

      The Trustee requests a copy of Debtor's 2017 tax return in order to determine the
accuracy and veracity of the plan and/or Schedules. 11 U.S.C. Section 521(1), 11 U.S.C.
Section 1325(a)(3), and 11 U.S.C. Section 1325(b)(1)(B).

                                             4.

       The Chapter 13 Trustee requests proof of the post-petition mortgage payments in
order to determine feasibility of proposed plan pursuant to 11 U.S.C. 1325(a)(6).

                                             5.

       The Chapter 13 Trustee requests proof of the post-petition homeowner’s
association payments or monthly savings for the payment in order to determine feasibility
of proposed plan pursuant to 11 U.S.C. 1325(a)(6).
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                                              6.

       The Trustee requests proof of the fair market value of the Debtor’s real property in
order to determine the accuracy and veracity of the plan and/or schedules. 11 U.S.C.
Section 521(1) and 11 U.S.C. Section 1325(a)(3).

                                              7.

       The 2016(b) Disclosure Statement and the Chapter 13 plan are inconsistent with
regard to the attorney’s fees received pre-petition and/or to be paid in the plan in violation
of 11 U.S.C. Section 329 and Bankruptcy Rules 2016(b) and 2017. Additionally, the
2016(b) Disclosure Statement and the Chapter 13 plan are inconsistent with regard to the
amount to be paid for attorney's fees upon pre-confirmation dismissal or conversion.

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 7th day of March, 2018.
                                          Respectfully submitted,

                                          /s/__________________________________
                                          Julie M. Anania
                                          Attorney for the Chapter 13 Trustee
                                          State Bar No. 477064
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                             CERTIFICATE OF SERVICE


Case No: A18-51296-JRS

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
VALENCIA MASHON GILFORD
4101 HERRON TRAIL SW
ATLANTA, GA 30349



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 7th day of March, 2018.


/s/__________________________________
Julie M. Anania
Attorney for the Chapter 13 Trustee
State Bar No. 477064
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
